                                In the
                           Court of Appeals
                   Second Appellate District of Texas
                            at Fort Worth
                                  No. 02-23-00441-CV

JAMES DONALD TATE AND MICHAEL                §   On Appeal from the 141st District Court
CUFFIA, Appellants
                                             §   of Tarrant County (141-332119-22)

V.                                           §   August 22, 2024

REX HANSEN, Appellee                         §   Memorandum Opinion by Justice Walker

                                     JUDGMENT

       This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s granting of the special appearance. It is ordered that

the trial court’s granting of the special appearance is affirmed.

       It is further ordered that appellants James Donald Tate and Michael Cuffia

shall bear the costs of this appeal, for which let execution issue.

                                        SECOND DISTRICT COURT OF APPEALS


                                        By /s/ Brian Walker
                                           Justice Brian Walker
